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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

         -v-                                                    No. 05-cr-621 (RJS)
                                                                     ORDER
GARY ALAN TANAKA,

                               Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

         Before the Court is Defendant Gary Tanaka’s motion requesting that the Court appoint

Daniel M. Perez to represent Tanaka in connection with post-conviction proceedings related to

the Court’s forfeiture order in this matter. (Doc. No. 916); see 18 U.S.C. § 3006A. On August

28, 2018, Tanaka’s prior counsel informed the Court that, under the policy of the Federal

Defenders of New York, Tanaka was no longer entitled to representation in such post-sentencing

proceedings. (Doc. No. 774.) The Court subsequently denied two motions for appointment of

counsel – reasoning, based on persuasive caselaw, that the constitutional right to counsel did not

extend to substitute asset forfeiture proceedings.      (Doc. No. 782 (citing United States v.

Saccoccia, 564 F.3d 502, 505 (1st Cir. 2009)); Doc. No. 855.) But even when the Court is not

required to appoint counsel, it certainly may exercise its discretion to do so. See United States v.

Reddick, 53 F.3d 462, 464 (2d Cir. 1995); United States v. Birrell, 482 F.2d 890, 892 (2d Cir.

1973).

         In light of recent developments, the Court now finds that appointment of counsel is

warranted. Since the Court’s last ruling, the Circuit has appointed Perez to represent Tanaka on

an appeal that involves some of the same issues now before the Court. (See Doc. No. 916 at 8
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(citing 18 U.S.C. § 3006A).). Moreover, global settlement discussions are currently underway,

and the Court is persuaded that counsel could facilitate such negotiations to the benefit of all

parties and the Court. Accordingly, IT IS HEREBY ORDERED THAT Perez is appointed as

counsel pursuant to 18 U.S.C. § 3006A for the limited purpose of representing Tanaka during

settlement negotiations and related forfeiture proceedings.

SO ORDERED.

Dated:         January 11, 2021
               New York, New York
                                                     ____________________________________
                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation




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